Case 1:20-cv-02475-NYW Document 21-1 Filed 11/12/20 USDC Colorado Page 1 of 5




                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLORADO

 DEBORAH LAUFER,
          Plaintiff,
 v.                                                       Case No: 1:20-cv-2475-NYW

 RANDALL J. LOOPER and
 CYNTHIA C. LOOPER dba
 ELK RUN INN,
           Defendant.

            STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


       1.   My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

            am unable to engage in the major life activity of walking more than a few steps

            without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

            a cane or other support and have limited use of my hands. I am unable to tightly

            grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

            ambulating beyond the comfort of my own home, I must primarily rely on a

            wheelchair. I require accessible handicap parking spaces located closet to the

            entrances of a facility. The handicap and access aisles must be of sufficient width

            so that I can embark and disembark into a vehicle. Routes connecting the

            handicap spaces and all features, goods and services of a facility must be level,

            properly sloped, sufficiently wide and without cracks, holes or other hazards that

            can pose a danger of tipping, catching wheels or falling. These areas must be free

            of obstructions or unsecured carpeting that make passage either more difficult or

            impossible. Amenities must be sufficiently lowered so that I can reach them. I



                                              1
Case 1:20-cv-02475-NYW Document 21-1 Filed 11/12/20 USDC Colorado Page 2 of 5




            have difficulty operating door knobs, sink faucets, or other operating mechanisms

            that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

            have unwrapped pipes, as such pose a danger of scraping or burning my legs.

            Sinks must be at the proper height so that I can put my legs underneath to wash

            my hands. I require grab bars both behind and beside a commode so that I can

            safely transfer and I have difficulty reaching the flush control if it is on the wrong

            side. I have difficulty getting through doorways if they lack the proper clearance.

            To use a pool, I require a lift or other accessible means. When sleeping in a guest

            room, I need a compliant tub or shower with required grab bars and a shower seat.

       2.   When looking at a hotel online reservation system, I need information so that I

            can ascertain whether or not the hotel and its guest rooms are accessible to me.

            This includes information whether the conditions referenced above are compliant.

       3.    In the past, I have observed that the vast majority of hotel online reservations

            systems do not allow for booking of accessible rooms or provide the information I

            need to make an informed choice. I have also booked a room at hotels whose

            websites claim they are “accessible”, only to find that this claim is untrue.

            Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

            an accessible hotel. The failure of so many hotels to comply with the law in this

            regard deter me from making travel plans. Therefore, I am an advocate on behalf

            of both myself and other similarly situated disabled persons and consider myself a

            tester. As a tester, I visit hotel online reservations systems to ascertain whether

            they are in compliance with the Americans With Disabilities Act. In the event that


                                               2
Case 1:20-cv-02475-NYW Document 21-1 Filed 11/12/20 USDC Colorado Page 3 of 5




            they are not, I request that a law suit be filed to bring the website into compliance

            with the ADA so that I and other disabled persons can use it. If a law suit is filed

            to bring the website into compliance, I frequently revisit the website to ascertain

            whether or not it has been made accessible with the information required by law.

            With respect to each law suit I file, I subsequently revisit each website because

            that is my system.

       5.   My niece lives in Colorado, I have visited her several times, and visit

            approximately once each year. I have plans to travel to there as soon as the Covid

            crisis is over and it is safe to travel. I intend to travel all throughout the State, and

            I need to stay in hotels when I go. Because the Defendant’s hotel and so many

            other hotel websites fail to allow for booking of accessible rooms and fail to

            provide sufficient information about whether or not the hotels’ features are

            accessible, it makes it extremely difficult for me to make any meaningful choice

            because I am deprived of the information I need to make my plans.

       6.   Rooms for the Elk Run Inn Craig CO,627 W Victory Way, Craig, CO 81625, can

            be booked through various online reservations websites. Prior to filing this

            lawsuit, on 6.6.20, 6.8.20, 6.10.20, and 6.11.20, , I visited the online reservation

            system for the Defendant’s hotel for the purpose of reviewing and assessing the

            accessible features at the hotel and ascertain whether the websites contain the

            information required by 28 C.F.R. Section 36.302(e) and adequately informs me

            as to whether the hotel meets my accessibility needs. I was in my own home in

            Pasco County when I visited these websites. However, I was unable to do so


                                                3
Case 1:20-cv-02475-NYW Document 21-1 Filed 11/12/20 USDC Colorado Page 4 of 5




            because Defendant failed to comply with the requirements set forth in 28 C.F.R.

            Section 36.302(e). As a result, I was deprived the same services available to the

            general public. The websites do not identify any accessible rooms, provide for

            booking of accessible rooms or contain any information as to whether any rooms

            or features at the hotel are accessible. In my experience, I have found that third

            party websites are sometimes compliant by identifying and allowing for booking

            of accessible rooms and providing ample information about accessibility. I can

            therefore only conclude that, when a third party reservations system is not

            compliant, it is because the hotel did not provide the required information.

       7.   When I encountered the above conditions, I suffered humiliation and frustration at

            being treated like a second class citizen, being denied equal access and benefits to

            the goods, facilities, accommodations and services. I am deterred from returning

            to the websites because I understand that it would be a futile gesture to do so

            unless I am willing to suffer further discrimination. I am aware that defendant

            segregates against me and other disabled persons by offering them one service: me

            a lesser service.. I am aware that I am being deprived the equality of opportunity

            afforded to non-disabled persons to utilize the online reservation system free of

            discrimination. I am also aware that my ability to travel free of discrimination and

            with equal access to information offered to the general public is diminished.

       8.   Despite the above, I plan to again review the websites in the near future. I have a

            system whereby I always revisit the websites of every hotel I sued. In this regard,

            I maintain a list of each hotel I have sued. I constantly go through this list and add


                                              4
Case 1:20-cv-02475-NYW Document 21-1 Filed 11/12/20 USDC Colorado Page 5 of 5




                to it. With respect to each hotel I sue, I shortly thereafter revisit the hotel’s online

                reservations system. Once a case is settled, I mark the date on my list when the

                defendant has agreed to fix its websites. When that date arrives, I revisit it again

                and record my visits. Thus, I revisit each hotel’s online reservations system at

                least two times after a lawsuit is filed.

 Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

 that the foregoing is true and correct.

 Date: _________
        11.6.20                                 __________________________________
                                                        DEBORAH LAUFER




                                                                             5
